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 2   District of Nevada
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 5
                       UNITED STATES DISTRICT COURT
 6
                            DISTRICT OF NEVADA
 7                                                -oOo-

 8
     UNITED STATES OF AMERICA,        )
 9                                    ) 2:14-CR-0137-KJD-NJK
                 Plaintiff,           )
10                                    ) STIPULATION FOR PROTECTIVE
                                      ) ORDER
          vs.                         )
11
                                      )
     ALEX BUDEANU,                    )
12
                                      )
                 Defendant.           )
13                                    )
14        IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,

15   United States Attorney for the District of Nevada, and Kimberly M. Frayn, Assistant United

16   States Attorney, counsel for the United States, Julian Gregory, Esq. counsel for defendant ALEX

17   BUDEANU, that this Court issue an Order protecting from disclosure to the public any

18   discovery documents containing the personal identifying and financial identifying information,

19   such as social security numbers, drivers’ license numbers, dates of birth, bank account numbers,

20   credit and debit card numbers, and addresses, of participants, witnesses and victims in this case.

21   Such documents shall be referred to hereinafter as “Protected Documents.” The parties state as

22   follows:

23          1.      Protected Documents, which will be used by the government in its case-in-chief,

24   include personal identifying information and financial identifying information, such as social
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 1   security numbers, drivers’ license numbers, dates of birth, bank account numbers, credit and

 2   debit card numbers, and addresses, of participants, witnesses, and victims in this case.

 3           2.     Discovery in this case is voluminous and includes many documents which contain

 4   personal and financial identifiers.       Redacting the personal and financial identifiers of

 5   participants, witnesses, and victims would prevent the timely disclosure of discovery to

 6   defendants.

 7           3.     The United States agrees to provide Protected Documents without redacting the

 8   personal identifiers and financial identifiers of participants, witnesses, and victims.

 9           4.     Access to Protected Documents will be restricted to persons authorized by the

10   Court, namely defendant, attorney(s) of record and attorneys’ paralegals, investigators, experts,

11   and secretaries employed by the attorney(s) of record and performing on behalf of defendant.

12           5.     The following restrictions will be placed on defendant, defendant’s attorney(s)

13   and the above-designated individuals unless and until further ordered by the Court. Defendants,

14   defendant’s attorneys and the above-designated individuals shall not:

15                  a.      make copies for, or allow copies of any kind to be made, by any other

16   person of Protected Documents;

17                  b.      allow any other person to read Protected Documents; and

18                  c.      use Protected Documents for any other purpose other than preparing to

19   defend against the charges in the Indictment or any further superseding indictments arising out of

20   this case.

21           6.     Defendant’s attorney(s) shall inform any person to whom disclosure may be made

22   pursuant to this order of the existence and terms of this Court’s order.

23           7.     The requested restrictions shall not restrict the use or introduction as evidence of

24   discovery documents containing personal identifying and financial identifying information, such
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 1   as social security numbers, drivers’ license numbers, dates of birth, bank account numbers, credit

 2   and debit card numbers, and addresses, of participants, witnesses and victims during the trial of

 3   this matter.

 4               8.   Upon conclusion of this action, defendant’s attorney(s) shall return to government

 5   counsel or destroy and certify to government counsel the destruction of all discovery documents

 6   containing personal identifying and financial identifying information such as social security

 7   numbers, drivers’ license numbers, dates of birth, bank account numbers, credit and debit card

 8   numbers, and addresses, within a reasonable time, not to exceed thirty days after the last appeal

 9   is final.

10

11   DANIEL G. BOGDEN
     United States Attorney
12

13   /s/ Kimberly M. Frayn                         March 23, 2015
     KIMBERLY M. FRAYN                             DATE
14   Assistant United States Attorney

15

16   /s/ Julian Gregory, Esq.                      March 23, 2015
     JULIAN GREGORY, ESQ.                          DATE
17   Counsel for defendant
     ALEX BUDEANU
18

19

20   ORDER
                           24th
     IT IS SO ORDERED this ________         March
                                    day of __________________ 2015.
21

22   _________________________________
     UNITED STATES MAGISTRATE JUDGE
23

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                                                   3
